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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
COMPASS MARKETING, INC. :
105 Eastern Avenue . Case Number: 1:22-cv-00379
Annapolis, Maryland 21403 :
(Anne Arundel County),

Plaintiff,
V.

FLYWHEEL DIGITAL LLC
1801 Porter St Suite 300
Baltimore, MD 21230

(Anne Arundel County),

JAMES COLUMBUS “CHIP” DIPAULA, JR..
11 Devon Hill Rd, Unit 4B

Baltimore, Md 21210

(Baltimore County),

PATRICK MILLER

743 Bywater Road
Gibson Island, Md 20008
(Anne Arundel County),

DANIEL WHITE

21900 Fairway Drive
Leonardtown, Maryland 20659
(St. Mary’s County),

MICHAEL WHITE

39650 Hiawatha Circle
Mechanicsville, Maryland 20659
” (St. Mary’s County),

- GEORGE WHITE
15125 Woodville Road

Waldorf, Maryland 20601 :

(Charles County), and °

ASCENTIAL PLC,
The Prow, 1 Wilder Walk, London, England
W1B 5AP.

Defendants.

 
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STIPULATION REGARDING DEADLINE FOR DEFENDANTS FLYWHEEL,
ASCENTIAL, DIPAULA, AND MILLER TO RESPOND TO COMPLAINT

Pursuant to Federal Rule of Civil Procedure 6(b), Plaintiff Compass Marketing, Inc.
(“Compass”) and Defendants Flywheel Digital LLC (“Flywheel”), Ascential PLC (“Ascential”),
James Columbus “Chip” DiPaula Jr. (DiPaula”), and Patrick Miller (“Miller”) hereby stipulate
to forty-six (46) days, up to and including April 4, 2022, for Defendants to answer, move, or

otherwise respond to Plaintiff's Complaint, and state as follows:

1. On February 14, 2022, Plaintiff filed a complaint against Defendants Flywheel,
Ascential, DiPaula, and Miller, among others (ECF 1).!

2. Defendants Flywheel, Ascential, DiPaula, and Miller accepted service of the
Complaint through waiver of service of summons on February 16, 2022.

3. The parties stipulate and agree that Defendants Flywheel, Ascential, DiPaula, and
Miller have forty-six (46) days, until April 4, 2022, to answer, move, or otherwise respond to
Plaintiff's Complaint.

THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the undersigned
counsel and subject to the approval of the Court, that Defendants Flywheel, Ascential, DiPaula,
and Miller shall have up to and including April 4, 2022 to answer, move, or otherwise respond to

Plaintiff's Complaint.

 

 

Dated: February 18, 2022 Respectfully submitted, . .
MORGAN, LEWIS & BOCKIUS LLP VENABLE LLP

/s/ Steven A, Luxton, Esq. /s/ G. Stewart Webb, Jr.. Esq.
Steven A. Luxton, Esq. _G. Stewart Webb, Jr., Esq.

 

' The other defendants which are not party to the instant motion are Michael White, Daniel White, and George
White.

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Attorneys for Plaintiff Compass
Marketing, Inc.

SO ORDERED.

Dated: 2_/ezle —

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The Honorable James K. Bredar, Chief Judge

(Bar No. 00828)

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Attorneys for Flywheel Digital, Ascential, James
DiPaula and Patrick Miller
